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                                                                                                         E-FILED
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                                                                               Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS

JANIS SHUMWAY, Individually,             :
                                         :
              Plaintiff,                 :
                                         :
v.                                       :              Case No.
                                         :
SHODEEN INVESTMENT PROPERTY              :
COMPANY d/b/a SPRING VALLEY INN, a       :
Foreign Limited Liability Company,       :
                                         :
              Defendant.                 :
_______________________________________/ :
                                         :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, JANIS SHUMWAY, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

SHODEEN INVESTMENT PROPERTY COMPANY d/b/a SPRING VALLEY INN, a Foreign

Limited Liability Company, (sometimes referred to as “Defendant”), for Injunctive Relief, and

attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Tennessee, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps and primarily relies on a wheelchair when

               ambulating. Plaintiff requires accessible handicap parking spaces located closest to

               the entrances of a facility. The handicap and access aisles must be of sufficient width

               so that she can embark and disembark from a ramp into her vehicle. Routes

               connecting the handicap spaces and all features, goods and services of a facility must
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     be level, properly sloped, sufficiently wide and without cracks, holes or other hazards

     that can pose a danger of tipping, catching wheels or falling. These areas must be free

     of obstructions or unsecured carpeting that make passage either more difficult or

     impossible. Amenities must be sufficiently lowered so that Plaintiff can reach them.

     She has difficulty operating door knobs, sink faucets, or other operating mechanisms

     that tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that

     have unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks

     must be at the proper height so that she can put her legs underneath to wash her

     hands. She requires grab bars both behind and beside a commode so that she can

     safely transfer and she has difficulty reaching the flush control if it is on the wrong

     side. She has difficulty getting through doorways if they lack the proper clearance.

2.   Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

     "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

     determining whether places of public accommodation and their websites are in

     compliance with the ADA.

3.   According to the public property records, Defendant owns a place of public

     accommodation as defined by the ADA and the regulations implementing the ADA,

     28 CFR 36.201(a) and 36.104. The place of public accommodation that the

     Defendant owns is a place of lodging known as SPRING VALLEY INN, 32871 US

     Highway 6, Spring Valley, IL, and is located in the County of Bureau , (hereinafter

     "Property").




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4.   Venue is properly located in this District because the subject property is located in

     this district.

5.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

     original jurisdiction over actions which arise from the Defendant’s violations of Title

     III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

     U.S.C. § 2201 and § 2202.

6.   As the owner of the subject place of lodging, Defendant is required to comply with

     the ADA. As such, Defendant is required to ensure that it's place of lodging is in

     compliance with the standards applicable to places of public accommodation, as set

     forth in the regulations promulgated by the Department Of Justice. Said regulations

     are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

     Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

     by reference into the ADA. These regulations impose requirements pertaining to

     places of public accommodation, including places of lodging, to ensure that they are

     accessible to disabled individuals.

7.   More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

     requirement:

     Reservations made by places of lodging. A public accommodation that owns,
     leases (or leases to), or operates a place of lodging shall, with respect to
     reservations made by any means, including by telephone, in-person, or through a
     third party -
             (i) Modify its policies, practices, or procedures to ensure that individuals
             with disabilities can make reservations for accessible guest rooms during
             the same hours and in the same manner as individuals who do not need
             accessible rooms;



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             (ii) Identify and describe accessible features in the hotels and guest rooms
             offered through its reservations service in enough detail to reasonably
             permit individuals with disabilities to assess independently whether a
             given hotel or guest room meets his or her accessibility needs;
             (iii) Ensure that accessible guest rooms are held for use by individuals
             with disabilities until all other guest rooms of that type have been rented
             and the accessible room requested is the only remaining room of that type;
             (iv) Reserve, upon request, accessible guest rooms or specific types of
             guest rooms and ensure that the guest rooms requested are blocked and
             removed from all reservations systems; and
             (v) Guarantee that the specific accessible guest room reserved through its
             reservations service is held for the reserving customer, regardless of
             whether a specific room is held in response to reservations made by others.

8.    These regulations became effective March 15, 2012.

9.    Defendant, either itself or by and through a third party, accepts reservations for its

      hotel online through one or more websites. The purpose of these websites is so that

      members of the public may reserve guest accommodations and review information

      pertaining to the goods, services, features, facilities, benefits, advantages, and

      accommodations of the Property. As such, these websites are subject to the

      requirements of 28 C.F.R. Section 36.302(e).

10.   Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

      purpose of reviewing and assessing the accessible features at the Property and

      ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her

      accessibility needs. However, Plaintiff was unable to do so because Defendant failed

      to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result,

      Plaintiff was deprived the same goods, services, features, facilities, benefits,

      advantages, and accommodations of the Property available to the general public.

      Specifically, booking.com did not identify accessible rooms, did not allow for


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      booking of accessible rooms and provided insufficient information as to whether the

      rooms or features at the hotel are accessible; hotel amenities, room types and

      amenities are all listed in detail; no information was given about accessibility in the

      hotel. Priceline.com did not identify accessible rooms, did not allow for booking of

      accessible rooms and provided insufficient information as to whether the rooms or

      features at the hotel are accessible; hotel amenities, room types and amenities are all

      listed in detail; no information was given about accessibility in the hotel other than

      the statement "Facilities for disabled guests available". Agoda.com did not identify

      accessible rooms, did not allow for booking of accessible rooms and provided

      insufficient information as to whether the rooms or features at the hotel are

      accessible; hotel amenities, room types and amenities are all listed in detail; no

      information was given about accessibility in the hotel.

11.   In the near future, Plaintiff intends to revisit Defendant's online reservations system

      in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this respect,

      Plaintiff maintains a system to ensure that she revisits the online reservations system

      of every hotel she sues. By this system, Plaintiff maintains a list of all hotels she has

      sued with several columns following each. She continually updates this list by,

      among other things, entering the dates she did visit and plans to again visit the hotel's

      online reservations system. With respect to each hotel, she visits the online

      reservations system multiple times prior to the complaint being filed, then visits

      again shortly after the complaint is filed. Once a judgment is obtained or settlement




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      agreement reached, she records the date by which the hotel's online reservations

      system must be compliant and revisits when that date arrives.

12.   Plaintiff is continuously aware that the subject websites remain non-compliant and

      that it would be a futile gesture to revisit the websites as long as those violations exist

      unless she is willing to suffer additional discrimination.

13.   The violations present at Defendant's websites infringe Plaintiff's right to travel free

      of discrimination and deprive her of the information required to make meaningful

      choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

      humiliation as the result of the discriminatory conditions present at Defendant's

      website. By continuing to operate the websites with discriminatory conditions,

      Defendant contributes to Plaintiff's sense of isolation and segregation and deprives

      Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges

      and/or accommodations available to the general public. By encountering the

      discriminatory conditions at Defendant's website, and knowing that it would be a

      futile gesture to return to the websitesunless she is willing to endure additional

      discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

      services and benefits readily available to the general public. By maintaining a

      websiteswith violations, Defendant deprives Plaintiff the equality of opportunity

      offered to the general public. Defendant's online reservations system serves as a

      gateway to its hotel. Because this online reservations system discriminates against

      Plaintiff, it is thereby more difficult to book a room at the hotel or make an informed

      decision as to whether the facilities at the hotel are accessible.


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14.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

      of the Defendant’s discrimination until the Defendant is compelled to modify its

      websitesto comply with the requirements of the ADA and to continually monitor and

      ensure that the subject websitesremains in compliance.

15.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

      from the Defendant’s non-compliance with the ADA with respect to these websites.

      Plaintiff has reasonable grounds to believe that she will continue to be subjected to

      discrimination in violation of the ADA by the Defendant.

16.   The Defendant has discriminated against the Plaintiff by denying her access to, and

      full and equal enjoyment of, the goods, services, facilities, privileges, advantages

      and/or accommodations of the subject website.

17.   The Plaintiff and all others similarly situated will continue to suffer such

      discrimination, injury and damage without the immediate relief provided by the ADA

      as requested herein.

18.   Defendant has discriminated against the Plaintiff by denying her access to full and

      equal enjoyment of the goods, services, facilities, privileges, advantages and/or

      accommodations of its place of public accommodation or commercial facility in

      violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

      Defendant continues to discriminate against the Plaintiff, and all those similarly

      situated by failing to make reasonable modifications in policies, practices or

      procedures, when such modifications are necessary to afford all offered goods,

      services, facilities, privileges, advantages or accommodations to individuals with


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             disabilities; and by failing to take such efforts that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or otherwise

             treated differently than other individuals because of the absence of auxiliary aids and

             services.

19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205

             and 28 CFR 36.505.

20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

             Injunctive Relief, including an order to require the Defendant to alter the subject

             websites to make them readily accessible and useable to the Plaintiff and all other

             persons with disabilities as defined by the ADAand 28 C.F.R. Section 36.302(e); or

             by closing the websites until such time as the Defendant cures its violations of the

             ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its websites to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the websites to ensure that it remains in compliance with said requirement.




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c.   An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

     § 12205.

d.   Such other relief as the Court deems just and proper, and/or is allowable under

     Title III of the Americans with Disabilities Act.

     Respectfully Submitted,

                                   By: /s/ Kimberly A. Corkill, Esq.

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